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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA

 MARK AUSSIEKER, on behalf of                  :
 himself and others similarly situated,        : CIVIL ACTION FILE NO.
                                               :
       Plaintiff,                              :
                                               :
 v.                                            : COMPLAINT – CLASS ACTION
                                               :
 SUNSHINE CONSULTATION                         :
 SERVICES, LLC                                 : JURY TRIAL DEMANDED
                                               :
       Defendant.                              :
                                           /

      Plaintiff Mark Aussieker (hereinafter referred to as “Plaintiff”), individually

and on behalf of all others similarly situated, alleges on personal knowledge,

investigation of his counsel, and on information and belief, as follows:


                              NATURE OF ACTION

      1.     “The law opted for a consumer-driven process that would allow

objecting individuals to prevent unwanted calls to their homes. The result of the

telemarketing regulations was the national Do-Not-Call registry. See 47 C.F.R. §

64.1200(c)(2). Within the federal government’s web of indecipherable acronyms

and byzantine programs, the Do-Not-Call registry stands out as a model of clarity.

It means what it says. If a person wishes to no longer receive telephone solicitations,

he can add his number to the list. The TCPA then restricts the telephone solicitations
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that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an

abusive telemarketing act or practice and a violation of this Rule for a telemarketer

to . . . initiat[e] any outbound telephone call to a person when . . . [t]hat person’s

telephone number is on the “do-not-call” registry, maintained by the

Commission.’). . . . Private suits can seek either monetary or injunctive

relief. Id. . . . This private cause of action is a straightforward provision designed to

achieve a straightforward result. Congress enacted the law to protect against

invasions of privacy that were harming people. The law empowers each person to

protect his own personal rights. Violations of the law are clear, as is the remedy. Put

simply, the TCPA affords relief to those persons who, despite efforts to avoid it,

have suffered an intrusion upon their domestic peace.” Krakauer v. Dish Network,

L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

      2.     This case involves a campaign by Sunshine Consultation Services, LLC

(“Sunshine”) to market its services through the use of automated telemarketing calls

in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

(hereinafter referred to as the “TCPA”).

      3.     The recipients of Sunshine’s illegal calls, which include Plaintiff and

the proposed Class, are entitled to damages under the TCPA, and because the




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 technology used by Sunshine makes calls en masse, the appropriate vehicle for their

 recovery is a class action lawsuit.

                                         PARTIES

        4.      Plaintiff is an individual.

        5.      Defendant Sunshine Consultation Services, LLC is a Florida limited

 liability company located in this District.

                               JURISDICTION AND VENUE

       6.       This Court has federal question jurisdiction over the TCPA claim

pursuant to 28 U.S.C. § 1331.

       7.       This Court has general jurisdiction over Sunshine because the company

is located in this District.

       8.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because Sunshine

made the calls from this District.

                                 TCPA BACKGROUND

        9.      In 1991, Congress enacted the TCPA in response to a growing number

 of consumer complaints regarding certain telemarketing practices.

        10.     § 227(c) of the TCPA requires the FCC to “initiate a rulemaking

 proceeding concerning the need to protect residential telephone subscribers’




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privacy rights to avoid receiving telephone solicitations to which they object.” 47

U.S.C. § 227(c)(1).

      11.    The National Do Not Call Registry allows consumers to register their

telephone numbers and thereby indicate their desire not to receive telephone

solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).

      12.    A listing on the Registry “must be honored indefinitely, or until the

registration is cancelled by the consumer or the telephone number is removed by

the database administrator.” Id.

      13.    The TCPA and implementing regulations prohibit the initiation of

telephone solicitations to residential telephone subscribers to the Registry and

provides a private right of action against any entity that makes those calls, or “on

whose behalf” such calls are made. 47 U.S.C. § 227(c)(5); 47 C.F.R.

§ 64.1200(c)(2).

                           FACTUAL ALLEGATIONS

      14.    Defendant Sunshine is a “person” as the term is defined by 47 U.S.C.

§ 153(39).

      15.    Sunshine offers debt resolution services.

      16.    Plaintiff Aussieker’s telephone number, 916-705-XXXX, has been

registered with the National Do Not Call Registry since 2003.


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       17.    Plaintiff Aussieker personally registered his number on the National Do

Not Call Registry.

       18.    It is the Plaintiff’s residential telephone number used for personal

purposes.

       19.    Despite this, the Plaintiff received calls from the Defendant’s call center

on April 25, May 10, 13 (twice) and 14 (twice), 2024.

       20.    All of the calls came from the same Caller ID, 206-804-7867.

       21.    The calls were for debt relief services.

       22.    On the final call, the Plaintiff spoke with “Sydney” from the Defendant.

       23.    “Sydney” informed the Plaintiff that she wanted him to speak with a

project manager from the company to complete their pitch for debt relief services.

       24.    The Plaintiff ended the call.

       25.    Plaintiff Aussieker has never had any business relationship with

Defendant Sunshine.

       26.    Prior to filing this lawsuit, Plaintiff wrote to the Defendant.

       27.    The Defendant did not deny its call center making telemarketing calls

to the Plaintiff.




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                       CLASS ACTION ALLEGATIONS

      28.    Plaintiff brings this action on behalf of himself and the following class

(the “Class”) pursuant to Federal Rule of Civil Procedure 23.

      29.    Plaintiff proposes the following Class definitions, subject to

amendment as appropriate:


             National Do Not Call Registry Class: All persons in the United
             States whose (1) residential telephone numbers were on the National
             Do Not Call Registry for at least 31 days, (2) but who received more
             than one telemarketing call from Defendant, (3) within a 12-month
             period, (4) advertising the Defendant’s services (5) at any time in the
             period that begins four years before the date of filing this Complaint
             to trial.


      30.    Plaintiff Aussieker is a member of and will fairly and adequately

represent and protect the interests of the Class as he has no interests that conflict

with any of the Class members.

      31.    Excluded from the Class are counsel, the Defendant, and any entities in

which the Defendant has a controlling interest, the Defendant’s agents and

employees, any judge to whom this action is assigned, and any member of such

judge’s staff and immediate family.

      32.    Plaintiff and all members of the Class have been harmed by the acts of

the Defendant, including, but not limited to, the invasion of their privacy, annoyance,


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waste of time, the use of their telephone power and network bandwidth, the use of

their data plans, and the intrusion on their telephone that occupied it from receiving

legitimate communications.

         33.   This Class Action Complaint seeks injunctive relief and money

damages.

         34.   The Class as defined above are identifiable through the Defendant’s

dialer records, other phone records, and phone number databases.

         35.   Plaintiff does not know the exact number of members in the Class, but

Plaintiff reasonably believes the Class members number, at minimum, in the

hundreds in each class.

         36.   The joinder of all members of the Class is impracticable due to the size

and relatively modest value of each individual claim.

         37.   Additionally, the disposition of the claims in a class action will provide

substantial benefit to the parties and the Court in avoiding a multiplicity of identical

suits.

         38.   There are numerous questions of law and fact common to Plaintiff and

to the proposed Class, including but not limited to the following:

               (a) whether Defendant made telemarketing calls without first obtaining
                   prior express written consent;



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                (b) whether Defendant systematically made telemarketing calls to
                    telephone numbers registered with the National Do Not Call
                    Registry;

                (c) whether Defendant’s conduct constitutes a violation of the TCPA;
                    and

                (d) whether members of the Class are entitled to treble damages based
                    on the willfulness of Defendant’s conduct.

      39.       Further, Plaintiff will fairly and adequately represent and protect the

interests of the Class. Plaintiff has no interests which are antagonistic to any member

of the Class.

      40.       Plaintiff has retained counsel with substantial experience in prosecuting

complex litigation and class actions, and especially TCPA class actions. Plaintiff

and his counsel are committed to vigorously prosecuting this action on behalf of the

other members of the Class, and have the financial resources to do so.

      41.       Common questions of law and fact predominate over questions

affecting only individual class members, and a class action is the superior method

for fair and efficient adjudication of the controversy. The only individual question

concerns identification of class members, which will be ascertainable from records

maintained by Defendant and/or its agents.




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      42.    The likelihood that individual members of the Class will prosecute

separate actions is remote due to the time and expense necessary to prosecute an

individual case.

                                   COUNT I
                    Telephone Consumer Protection Act
         Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)
     (On Behalf of Plaintiff and the National Do Not Call Registry Class)

      43.    Plaintiff repeats and incorporates the allegations set forth in

paragraphs 1 through 42 as if fully set forth herein.

      44.    The foregoing acts and omissions of Defendant constitute numerous

and multiple violations of the TCPA, 47 U.S.C. § 227, by making telemarketing

calls, except for emergency purposes, to Plaintiff and members of the National Do

Not Call Registry Class despite their numbers being on the National Do Not Call

Registry.

      45.    Defendant’s violations were negligent, willful, or knowing.

      46.    As a result of Defendant’s violations of the TCPA, 47 U.S.C. § 227,

Plaintiff and members of the National Do Not Call Registry Class are

presumptively entitled to an award of between $500 and $1,500 in damages for

each call made.

      47.    Plaintiff and the members of the National Do Not Call Registry Class

are also entitled to and do seek injunctive relief prohibiting Defendant and/or its

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affiliates, agents, and/or other persons or entities acting on Defendant’s behalf

from making telemarketing calls to telephone numbers registered on the National

Do Not Call Registry, except for emergency purposes, in the future.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for

the following relief:

      A.     Injunctive relief prohibiting Defendant from calling telephone numbers

advertising their goods or services, except for emergency purposes, to numbers on

the National Do Not Call Registry in the future;

      B.     That the Court enter a judgment awarding Plaintiff and all class

members statutory damages for each violation of the TCPA;

      C.     An order certifying this action to be a proper class action pursuant to

Federal Rule of Civil Procedure 23, establishing appropriate Class the Court deems

appropriate, finding that Plaintiff is a proper representative of the Class, and

appointing the lawyers and law firms representing Plaintiff as counsel for the Class;

and

      D.     Such other relief as the Court deems just and proper.

                                 JURY DEMAND

      Plaintiff requests a jury trial as to all claims of the complaint so triable.


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Dated: October 16, 2024      PLAINTIFF, on behalf of himself
                             and others similarly situated,

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